AO 24513      (Rev. 09/08) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         Southem District of New York
                                                                          )
              UNITED STATES OF AMERICA 	                                  )          JUDGMENT IN A CRIMINAL CASE
                                  v. 	                                    )

                            Rajat Gupta                                   )

                                                                          )          Case I\umber: S 1 :11 cr907-01 (JSR)
                                                                          )          USM Number: 65892-054
                                                                          )
                                                                          )          ~ary     Naftalis, Esq. _

THE DEFENDANT: 	
                                                                                     Defendant's Attorney 	                 ~"           ....
                                                                                                                 r""'~·-·"·~",,_0''''_"'''-'--.h-''--·
                                                                                                                                                       -------
                                                                                                                                            "".--.--..._ _.___
                                                                                                                                                             ._ ...
                                                                                                                 IU            C. f7,:NY                                              ~.
   pleaded guilty to count(s)                                                                                        .       ~ ...
                                                                                                                             ~,~'ti
                                                                                                                                     "          :1~'!\.T".""·
                                                                                                                                                                ____.
                                                                                                                                                                  	 . ___ ~           ,
o pleaded nolo contendere to count(s)                                                                           ,~f-'~~:"l:~:' 	                                               :'~t.rn t
   which was accepted by the court. 	                                                                             r~l... :" ' ' - -.)                                  . ~_.' -_"__,, _
                                                                                                                                                                        .. .
                                                                                                                 !

rt'was found guilty on count(s)           1,3,4 & 5                                                                          . :"'7!" 'UiC11;'!~;'- -~.
                                                                                                              --I-lt-:MU'1II.;au.~                        __....I!
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense 	                                                           Offense Ended

 18 U.S.C. 371                     CONSPIRACY TO COMMIT SECURITIES FRAUD                                                 1/31/2009

 15 U.S.C.78j(b) &78ff              SECURITIES FRAUD 	                                                                   9/23/2008                                    3
 15 U.S.C.78j(b) &78ff              SECURITIES FRAUd 	                                                                   9/23/2008                                    4

       The defendant is sentenced as provided in pages 2 through                 7            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
!t'The defendant has been found not guilty on count(s)           2&6

!t'Count(s)     of the   underlyin.9Jr:1~ictment         0 is      ~are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIC circumstances.                            ­

                                                                           10/24/2012
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                                                                                       . _ __l_~_
                                                                                               ._~. .
                                                                                     re of Judge




                                                                           Hon. Jed S. Rakoff, 	                                         U.SD.J.
                                                                          I\amc of Judge


                                                                            ___ Ii
                                                                          Date            ~
                                                                                             I~/t; r­
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           Sheet lA

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                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                 Nature of Offense                    Offense Ended           Count
15 U.S.C.7Sj(b) &7Sff            SECURITIES           FRAU~
                                                          I
                                                                      10/24/200S              5
AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                                         Judgment   Page    of
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    On Counts 1,3,4,and 5 :TWENTY FOUR (24) MONTHS TO RUN CONCURRENT ON ALL COUNTS.




      ¢   The court makes the following recommendations to the Bureau of Prisons:

    The Court recommends incarceration in Otisville's minimum security prison, if the B.O.P. finds the defendant qualifies.



      D The defendant is remanded to the custody of the United States Marshal.

      D 	 The defendant shall surrender to the United States 'V1arshal for this district: 

          D     at                         ~--~
                                                     D a.m.      D p.m.        on 

          D 	 as notified by the United States Marshal.

      ¢ 	 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons: 

          r;t   before 2 p.m. on        1/8/2013 

          D as notified by the United States 'V1arshal. 

          D as notified by the Probation or Pretrial Services Office. 



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                              to

a    ~___   . . . . . . ________________________       with a certified copy of this judgment. 




                                                                                                      UNITED STATES


                                                                            By
                                                                                                   DEPUTY UNITED STATES
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  On Counts 1 ,3,4,and 5: ONE (1) YEAR TO RUN CONCURRENT ON ALL COUNTS.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of 

          future substance abuse. (Check, if applicable.) 


          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. ifapplicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, If applicable.)

          The defendant shall complv with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. ~ 16901, et seq.)
 D        as directed by the probatIOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check. ifapplicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer; 

   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of 

           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons; 

   6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment; 

     7)    the deiendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any 

           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not assQ(;ia!e with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pernllsslOn to do so by the probahon officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11 )      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the d~fendant, shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permlSSlOn ot the court; and

  13) 	 as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendants compliance with such notifIcation requirement.
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          Sheet 3C- Supervised Release

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                                        SPECIAL CONDITIONS OF SliPERVISION
 1. The defendant shall make restitution, as shall be set at a future date, pay the fine imposed and special assessment as
 ordered on the financial penalties page of this judgment.
 2. The defendant shall provide the probation officer with access to any requested financial information.
 3. The defendant shall not incur any new credit charges or open additional lines of credit with the approval of the probation
 officer unless the defendant is in compliance with the installment payment plan.
 4. The defendant shall participate in an alcohol aftercare treatment program under a co-payment plan, which may include
 testing via Breathalyzer at the direction and discretion of the probation officer.
 5. The Court recommends that the defendant be supervised by the district of residence.
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                             Judgment -   Page      6     of        7
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                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment 	                                            Fine                                  Restitution
 TOTALS             $ 400.00 	                                               $ 5,000,000.00                      $



 r;t 	The determination of restitution is deferred until         1/24/2013 . An Amended Judgment in a Criminal Case (AG 245C) will be entered
     after such determination.

 D 	 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 36640), all non federal victims must be paid
     before the United States is paid.

 Narne of Payee 	                                                        Total Loss*              Restitution Ordered            Priority or Percentage




TOTALS                               $                            0.00 	           $_---­                0.00


D     Restitution amount ordered pursuant to plea agreement $

[J    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D    fine     D   restitution.

      D   the interest requirement for the            D   fine       D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl 23, 1996.
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            Sheet 6 - Schedule of Payments

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                                                        SCHEDULE OF PAYl\IENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ri/   Lump sum payment of$            400.00               due immediately, balance due

            D     not later than                                      , or
            D     in accordance                        D D,      D      E,or          F below; or

 B          Payment to begin immediately (may be combined with                   C,           D, or     D F below); or
C           Payment in equal                          (e.g.. weekly. monthly. quarter(v) installments of $                            over a period of
                            (e.g.. months or years), to commence                       (e.g.. 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                          (e.g.. week(v. monthly. quarterly) installments of $                          over a period of
                            (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E	         Payment during the term of supervised release will commence within                 (e.g.. 30 or 60      after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     riI 	 Special instructions regarding the payment of criminal monetary penalties:
            The defendant shall make restitution and pay the fine imposed at the rate of 15% of his gross monthly income
            beginning with the second month of supervised release.




Unless the court has expresslr ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnmina monetary penalties, exoept those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant /lumber), Total Amount, Joint and Several Amount.
      and corresponding payee, if appropriate. 	                                                                             .




o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court COS1~S):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in .the following order: (I) assessment, (2) re?titutiqn principal, (3) restitution interest, (4) fine prineipal,
(5) fine Interest, (6) commul11ty restItutIon, (7) penaltles, and (8) costs, Includmg cost of prosecution and court costs.
